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DECLARATION OF CHRISTINA E. MANCUSO

Iam an attorney employed by Andry Lerner L.L.C. law firm (“AL”) in New Orleans,
Louisiana. I make this Declaration. The statements contained in this Declaration are
within my personal knowledge, and, if called upon to testify, I could and would
testify competently thereto.

I attended Baylor University in Waco, Texas (B.A. 1982) and Baylor University
School of Law (J.D. 1984) I was admitted to the State Bar of Texas in 1984 and
practiced at several firms from 1984 — 1990. I worked at Baron & Budd P.C. from
1990 until 2007 in Mass-Tort/ Multi-Party Toxie Tort litigation. I hold an AV
Preeminent Rating by Martindale-Hubbell.

Tam the senior AL staff attorney handling claims for property and economic damages
resulting from the BP “Deepwater Horizon” Oil Spill in the Gulf of Mexico on April
20, 2010 (“Oil Spill.””) I am knowledgeable about AL’s Oil Spill client files.

The Deepwater Horizon Economic & Property Damage Claims Center
(“DHECC”) assigned a law firm liaison to AL upon the opening of the DWHCC.
AL. was then notified via email on January 2, 2013 of a law firm liaison change.
AL’s liaison Nikeita Ashe is part of a specialized DWHCC team devoted solely to
law firm contact, outreach and help in navigating the DWHCC review process
and resolving DWHCC claim issues. AL was instructed to contact the firm liaison
if there were any quéstions or concerns regarding the status and issues of AL’s
claims. AL was told that the appointed firm liaison was familiar with the status of
AL claims and any outstanding claim questions or issues that had occurred as of
that date and such was the case.

The submission of claims and responses to any DWHCC issued Notices are
downloaded directly into the DWHCC database system. BP is not a listed entity to be
notified by Claimant or Claimant’s counsel in the submission of DWHCC claims and
/or any Responses to DWHCC Notices.

The DWHCC claim flow process does not permit communication between claimants
and/or their attorneys and BP with the exception of the entry of a claim out of the
DWHCC flow process and into the appeal adversarial process detailed in the Rules
Governing The Appeal Process (“Appeal Rules”) , a procedure established by the

DWHCC to govern the process and resolution of an Appeal filed by BP or an Appeal

filed by the claimant. Counsel is to be served by opposing counsel any applicable
Initial and/or Final Proposals detailed in the DWHCC appeal “baseball process” as
well as the Opening, Opposition, and Reply Memoranda in the DWHCC appeal
“non-baseball process.” Exhibit 1.

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7) At times, AL was contacted for additional information, documents and explanations

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by the AL firm liaison and other DWHCC staff members, financial experts, analysts
and accountants from DWHCC or various accounting firms hired by the DWHCC in
order to aid the claim(s) progress in the DWHCC review process. AL routinely
discussed the status of claims, information still required and questions regarding
relevant Policies or procedures for such claims. To my knowledge, AL’s firm liaison,
other DWHCC staff members, financial experts, analysts and accountants did not
include BP in AL’s emails, correspondence, phone calls or discussions with DWHCC
regarding the internal review process of AL’s claim(s).

AL, BP and Class Counsel had access to claim status on the DWHCC website via the
“Last Review” screen as part of the Incompleteness Notice for a claim. However,
after July 17, 2013 this DWHCC website view was deleted on a claim with an
Incompleteness Notice until the issuance of an Eligibility Notice or a Denial Notice
in light of the Court’s Order regarding confidentiality of DWHCC claims.

The settling Parties agreed to the Economic and Property Damages Settlement
Agreement as Amended on May 2, 2012 (“Settlement Agreement”) and the
establishment of the Court—Supervised Settlement Program in part to “to facilitate the
expeditious resolution of CLAIMS for the benefit. of the Economic Class...”
(Settlement Agreement — Recital G.) Oe .

10) The Settlement Agreement (Section 4.3.7) provides that the settlement program

“shall use its best efforts to provide Economic Class members with assistance,
information, opportunities and notice so that the Economic Class Member has the
best opportunity to be determined eligible for and receive the Settlement Payments to
which the Economic Class member is entitled under the terms of the Agreement.”

11) By a variety of methods, the Clatms Administer has improved the transparency

and the exchange of information and claim status between the DWHCC and the
Claimants and Claimant’s attorneys and continues to do so.

12) The DWHCC claims review is multi-faceted process which in reality does resolve

certain, claims in.a shorter time frame while holding other claims longer in the review
process due to certain components. The progression of a claim through the
established DWHCC review process can be affected by a number of variables as the
claim flows down the different DWHCC queues. These factors include, but are not
limited to, the type of claim, the potential for Moratoria Review, the pertinence and
application of any Policy that might then currently be contested or is in the process of
being established or altered, the completeness of the claim submitted, whether or not

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the claim has to go to an accountant for review, the requirement for mapping, the
competency of the reviewers or analysts, forensic accounting calls and issues
regarding documents and explanations , the necessity or lack of necessity of financial
calculations, the issuance of Incompleteness Notice(s), Requests for Re-
Consideration, Requests for Re-Review, Denial Notices, Appeals, Circuit Decisions
and the number of and complexity of required documentation. Thus, claims
submitted at the same time can take different routes and varied time frames in order
to reach settlement. Claims which require little or no calculation are resolved in a
much shorter time frame than different and/ or more complex claim types submitted
at the same time.

13) AL frequently contacted the AL firm haison to obtain the most recent status of the
progression of claims to update AL clients who contacted AL on a consistent basis
and were not satisfied with the general claim status as listed on the DWHCC website.
AL clients wanted to track their claim(s) moving through the DWHCC review and
sought explanations for the review time frame for their claim(s). As attorney and
advocate for tts clients, AL sought to provide these clients with as detailed claim
status information as possible and attempted to cure any issues which prevented these
claims. from moving forward. AL also confirmed with the liaison that specific
DWHCC issues were affecting the flow. of certain AL claims. Per Claims
Administrator policies, the liaison see her job to be responsive to the status inquires
which are common among all counsel representing claimants. .

14) It is not possible to predict the length of time involved for a filed DWHCC claim to
be reviewed and settled in part due to the continued evolution of the DWHCC review
process. This process includes the consistent issuance of new DWHCC interpretive
Approved Policies or Procedures rendered by Claims Administrator Decision, Court
Decisions or Agreed to by the Parties. Clarifications of previous Policies as well as
the flow of Appeal Panel Decisions and En Banc Determinations on varied DWHCC
claim issues all affect the time frame in which claims are reviewed to completion.

15) The Seafood Compensation Program Overview specifically states “Claims will be
processed and paid as expeditiously as possible by the Claims Administrator.
(Settlement Agreement, Rec. Doc 6430-22, Page 4 of 96).

16) Claimant Casey Thonn (“Thonn”) signed an Attorney Client contract with AL on
April 12, 2012. Exhibit 2.

17) I set forth here below the time frame for the DWHCC’s processing of each of the
three Thonn claims — the Boat Captain Claim, the Vessel Owner claim and the
Vessel of Opportunity claim:

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18) June 24, 2012: The Thonn Seafood Compensation Boat Captain Claim # 19691
was filed on June 24, 2012 indicates pursuant to the Thonn Expert Economic
Report that the settlement sum should be in the amount of $259,459.00.

19) November 6, 2012: An Eligibility Notice dated November 6, 2012 was issued
by the DWHCC in the amount of amount of $885.58 based on trip tickets. This
Notice was received by AL on November 7, 2012. Exhibit 3.

20) December 3, 2012: AL filed a Request for Reconsideration on December 3,
2012, requesting the DWHCC to use Tax Returns instead of trip tickets in the
DWHCC calculation pursuant to the terms of the Settlement Agreement.

21) December 7, 2012: A Post-Reconsideration Eligibility Notice dated December
7, 2012 was issued by the DWHCC for $189,647.64 per terms of the Settlement
Agreement. It was determined that the Eligibility Notice sum was incorrect in
that the DWHCC should not have deducted Shrimp Cost Percentage from his
Boat Captain claim in the calculation loss, that such a deduction in the loss
calculation is only done on the Vessel Owner claim per the terms of the

.~ Settlement Agreement. This Notice was received by AL on December 7, 2012.

22) January 7, 2013: AL filed a Request For Appeal Form regarding the error that
we believe was made in calculation with formula and filed an Appeal on January
7, 2013 on the Post — Reconsideration Eligibility Notice due to the manner in
which the Settlement Agreement was written regarding the Shrimp Cost
Percentage deduction, and requested the amount of $648,648.00 per the language
in the Settlement Agreement and DWHICC Policies as of that date. Please see
Settlement Agreement Shrimp Compensation Plan' which states:

“Tf the Claimant is a Boat Captain and Benchmark Revenue was calculated
based upon his earnings, such as from tax return or financial information,
then no Shrimp Cost Percentage is applied, skip to step 5.”

The Appeal was filed based on “The Settlement Program committed a
calculation error”, “Error in reviewing submitted documentation” and “Error in
Prior Payment Offset.” It was also seen that this Boat Captain Post
Reconsideration Eligibility Notice and the Vessel Owner Post~Reconsideration

1 Exhibit 4
? See Exhibit 5, Coastal Claims Group Letter, Dated January 7, 2013

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Eligibility Notice had both deducted and offset the total prior payment
settlement funds amount in each claim. The total prior settlement funds amount
deduction and offset is to have been taken off of only one claim, not on each
claim. The filing of this Appeal then opened up to BP the entire DWHCC claim
file to oversight review by an appellant Judge with the possibility of such
Appeal eventually going to Judge Barbier.

23) January 24, 2013: BP’s Initial Proposal Regarding Claim No. 19691° filed
January 24, 2013 attached a copy of Thonn’s 2009 Tax Return and Economic

Expert Report BP and states on Page 1:

“BP agrees with the Settlement Programs calculation of Claimant's
Compensation Amount. BP therefore, submits an Initial Proposal Compensation
Amount $22,932.00, the amount Claimant is entitled to according to the terms of
the Settlement Agreement Seafood Compensation Framework.”

24) January 24, 2013: AL filed its Initial Proposal Form on January 24, 2013 with
an Initial Proposal amount of $ 78,624.00 with an Initial Proposal RTP Multiplier
of 7.25 plus accounting fees that being a compensation amount of $648,648.00.

25) January 29, 2013: Notice of Initial Proposals was issued by the DWHCC on
January 29, 2013 with BP’s Initial Proposal Compensation amount of
$189,189.00 and Claimants Initial Proposal Compensation Amount of

$648,648.00,

26) February 4, 2013: AL received BP’s Final Proposal filed February 4, 2012"
which states:

“As BP explained in its Initial Proposal, the Settlement program correctly
calculated both Claimant’s Compensation Amount and the Claimant's prior
payment offset” and “BP, therefore, submits a Final Proposal
Compensation Amount of $22,932.00 and Final Proposal Prior Offset
Payment of $72,500.00.”

27) February 4, 2013: AL filed its Final Proposal Form on February 4, 2013. With
a Final Proposal Compensation Amount of $ 31,449.60 with a Final Proposal Risk
Transfer Premium of 7.25 that being a compensation amount of $259,459.00.

28) February 7, 2013: The DWHCC issues a Notice of EIN Verification

3 See Exhibit 6
* See Exhibit 7

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29) February 8, 2013: A Notice of Final Proposals was issued by the DWHCC on
February 8, 2013 with BP’s Final Proposal Compensation amount of $189,189.00
and Claimant‘s Final Proposal Compensation Amount of $259,459.00,

30) February 8, 2013: During the Appeal process, a new DWHCC Policy, No. 342,
was issued on February 8, 2013, which interpreted and clarified the Agreement as
written and addressed this very issue of shrimp cost percentage deduction for an
individual who is both a Vessel Owner and a Boat Captain.”

31) February 28, 2013: The Response to the DWHCC Notice of EIN Verification is
submitted.

32) March 28, 2013: The Notice of Appeal Panel Decision dated March 28, 2013°
awarded claimant $189,189.00, the amount of BP’s Final Proposal. The Appeal
and the appeal fee were lost by Thonn. The Appeal Panel stated:

“The Appeal Panel’s decision will stand as the Settlement Program’s final
determination on this claim.”

33) The Appeal Rules strictly govern all Appeal time frames. The Rules provide that
a single randomly assigned Appeal Panelist shall determine the appeal where the
Compensation Amount sought by the claimant is less than $1,000,000.00. The
name-of the Appeal Judge is not listed én the Notice of Appeal Panel Decision.

34) April 9, 2013: The Post-Appeal Eligibility Notice dated April 9, 2013 was
issued by the DWHCC in the amount of $189,189.00 plus accounting fees.
Exhibit 10.

35) AL did not seek judicial review of the Appellate Panel’s decision which is
permitted under the terms of the DWHCC Appeal process.

36) April 29, 2013: The DWHCC issued a settlement payment check to Thonn and
his counsel dated April 29, 2013 in the amount of $190,350.25.

37) June 24, 2012: The Thonn Seafood Compensation Vessel Owner claim # 19690
was filed with the DWHCC on June 24, 2012 with a proposed settlement sum of
$327,272 pursuant to the Expert Economic Report.

5 See Exhibit 8
® See Exhibit 9

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38} November 1, 2012: A DWHCC Eligibility Notice for Thonn’s Vessel Owner
Claim dated November 1, 2012 was issued in the amount of $864.78 based on trip
tickets. This Notice was received by AL on November 2, 2012. Exhibit 11.

39) December 3, 2012: AL filed a Request for Reconsideration on December 3,
2012, requesting the DWHCC to use Tax Returns instead of trip tickets in the
claim calculation pursuant to the terms of the Settlement Agreement.

40) December 7, 2012: The DWHCC issued a Post-Reconsideration Eligibility
Notice dated December 7, 2012 in the amount of $238,636 ($166,136.13 after the
offset of prior seafood payments). However, the Notice inadvertently omitted
accounting fee reimbursement pursuant to the Settlement Agreement.

41) It was determined that the Eligibility Notice sum was correct in that the Thonn
Vessel Owner Economic Expert Report was in error, as the calculations omitted
to subtract the Shrimp Cost Percentage in the loss calculation.

42) January 7, 2013: AL filed an Appeal on this Post-Reconsideration Eligibility
Notice on January 7, 2013 to obtain the allowed reimbursement for accounting

fees only,

43} Working through our DWHCC firm liaison, pursuant to DWHCC procedure, the
issue was resolved; the accounting fees reimbursement was added to the Claim.

44) January 21, 2013: AL then withdrew the Appeal.
45) January 24, 2013: AL filed an Initial Proposal Form on January 24, 2013
with an Initial Proposal amount of $78,624.00 plus accounting fees with an

Initial Proposal RTP Multiplier of 7.25.

46) January 28, 2013: A Post-Reconsideration Eligibility Notice dated January 28,
2013 was issued listing $515.97 as reimbursement for accounting fees. Exhibit 12.

47) January 30, 2013: The Vessel Owner claim was accepted online.

48) February 28, 2013: The DWHCC issued a settlement payment check to Thonn
and his counsel dated February 28, 2013 in the amount of $166,652.00.

49) June 24, 2012: AL filed a Thonn Vessel of Opportunity (“VoO”) claim # 20741
on June 24, 2012 in the amount of $49,400.00, a sum certain per the Settlement

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Agreement Vessels of Opportunity Chart A regarding Workmg VoO Participants
(Rec. Doc 6430-1, Page 35 of 123) due to “Boat Size” size of the Thonn Vessel
which participated in the VOO BP Oil Spill Clean Up program. No calculation
was required for payment of this claim, only an inspection and verification of the
required documentation.

50) July 18, 2012: A Payment Notice was issued on July 18, 2012 in the amount of
$49,400.00. Exhibit 13.

51) July 30, 2012: The Release was received. Thonn signed the Release and it was
sent to the DWHCC.

52) October 10, 2012: The DWHCC issued a settlement payment to Thonn and his
counsel dated October 10, 2012 in the amount of $49.400.00.

53) An initial Eligibility Notice commences the timed resolution sequence of a claim
regulated by Notice deadlines. The progression of these three claims through the
established DWHCC claims processing system revolved around dated Notices

_ with specific deadlines intrinsic in the processing of these claims.(For example, a
Claimant has thirty (30) days to file a Request for Reconsideration.) From the
time of the initial Eligibility Notices through any Appeal process, the three Thonn
claims followed the usual DWHCC claim processing framework triggered by
Notices dates and Notice deadlines for submission of acceptances, Responses and
Appeals. To my knowledge, none of the three Thonn claims were ever accelerated
or given special treatment.

54) To my knowledge, by the time that Mr. Lionel Sutton went to work at the CAO
in early November of 2012, the Thonn VoO claim had been paid, an Eligibility
Notice for the Vessel Owner had been issued on November 1, 2012 and a Boat
Captain Eligibility Notice was issued on November 6, 2012.

55) To my knowledge and experience, the time frame processing flow for the Thonn
seafood claims are typical of seafood claims - that being the longest inactive
period of time involved in the claim processing is the period from the initial filing
of the seafood claim to the date in which an Eligibility Notice is first received.

56) The Independent External Investigation of The Deepwater Horizon Court
Supervised Settlement Program — Report of Special Master Louis J. Freeh
September 6, 2013 (“Freeh Report”) is attached hereto as Exhibit 14.

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57) Attached hereto are the following Special Master Interview Transcripts:
Mr. Jonathan Andry - Exhibit 15; Mr. Patrick Juneau - Exhibit 16; Mr. Glen
Lemer — Exhibit 17; Ms. Christina Reitano — Exhibit 18; and Mr. Lionel Sutton -
Exhibit 19.

58) Attached hereto are the Witness Interview Notes produced by the Special
Master, (Bates Nos. SM-03-JA000001- 105) Exhibit 20.

59) The CAO Internal Investigation Witness Interview Summaries produced by the
Special Master are attached hereto as Exhibit 21.

60) The Transcript of the Motion Proceedings Heard Before The Honorable Carl J.
Barbier, dated July 19, 2013, is attached here to as Exhibit 22.

61) An email chain between Ms. Christine Reitano and Mr. Matt Lundy dated
September 17, 2012 (Bates No. SM-02-JA00914 — 915) is attached hereto as
Exhibit 23.

62) The Declaration of Susan DeSantis filed December 16, 2013 (Rec. Doc 11988-3)
is attached hereto as Exhibit 24.

63) An email from Mr. Glen Lermer to Mr. Lionel Sutton dated. January 29, 2013
. (Rec..Doc 11988-24) is attached hereto.as Exhibit 25. __

64) The Interview Report of David Welker is attached hereto as Exhibit 26.
65) Michael (“Mike”) Juneau’s notes are attached hereto as Exhibit 27.
66) The David Welker Investigative Report is attached hereto to as Exhibit 28.

67) BP’s full page advertisement in the New York Times dated January 16, 2014
entitled “Another law firm hits the jackpot:” is attached hereto to as Exhibit 29,

I declare that the foregoing is true and accurate.

Executed on January 17, 2014, in New Orleans, Louisiana.

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Christina ESMfancuso

